Case 2:04-cr-20384-SH|\/| Document 79 Filed 07/07/05 Page 1 of 2 Page|D 76

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IN THE UNITED sTATES DISTRICT coURT
FoR THE wEsTERN DISTRICT oF TENNESSEE g- _¢
WESTERN DIvIsIoN 5""`”' 7 PH'Z’ZB

 

UNITED sTATES OF AMERICA ) a%US-D@WCTUHT
Plaintiff, )
)
vs. ) CR. No. 04-20384-1)

HECTOR POLENDO, JR. )

Defendant. )

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY
AND SE'I"I‘ING

 

This cause was set for a Suppression Hearing and Report Date
on July 5, 2005 at 2:00 p.m. The defendant moved the Court for a
continuance to allow for additional time to prepare.

The Court granted the motion and hereby resets the trial date

to September 6, 2005 with a Suppression Hearing and Report Date on
Wednesdayl Auggst 3l 2005 at 2=00 P.M., in Courtroom 3, 9th Floor

of the Federal Building, Memphis, TN.
The period from July 15, 2005 through September 16, 2005 is

 

excludable under 18 U.S.C. § 3161(h)(l)(F) because the ends of
justice served in allowing for disposition of the pending motion
outweigh the need for a speedy trial.

I'I‘ IS SO ORDERED this ((ZM\day of July, 2005.

  
  

B RNICE B. DONALD
ITED S'I‘ATES DISTRICT JUDGE

This document entered on the docket she,e_§\ir‘gc piiZn
With Hu|e 55 amd/or 32(0) FRCrP on l- ‘ ‘

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Notice of Distribution

This notice confirms a copy of the document docketed as number 79 in
case 2:04-CR-20384 Was distributed by faX, mail, or direct printing on
July ]2, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

